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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

 

HON. LAWRENCE P, ZATKOFF 2 -
UNITED STATES DISTRICT COURT JUDGE ee

 

 

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HON. JUDGE PEPE Tel
UNITED STATES MAGISTRATE JUDGE
RICHARD A, MCBRAYER,
Petitioner, Case No, £5-04-CV-73235-DT

vs.
HUGH WOLFENBARGER,

Respondent. /

SUPPLEMENTAL AUTHORITY AND ARGUMENT

NOW COMES the petitioner, RICHARD A. MCBRAYER, acting In Pro
Per, and hereby incorporates the following supplemental authority
and argument in further Reply to Respondent's Motion for Summary
Judgment:

1. In his Motion for Summary Judgment, the respondent advances
the following two arguments: (1) That the decision in Blakely v.
United States, 542 U.S. 3 124 S Ct 2531 (2004), only applies to
increases in the maximum sentence; and, (2) that it is unlikely that
the constitutional requirements in Blakely will be applied
retroactively te cases on collateral review. See Gov. Resp., at
Pe, 5-9,

2. Contrary te respondent's first position, in Booker v. United
@ 2:04-cv-73235-LPZ-SDP ECF No. 13, PagelD.113 Filed 03/28/05 Page 2 of 5

 

States, 0.5, 2 124 S Ct 738; 76 CrL 265, 270 (2005), the United
States Supreme Court explicitly rejected the Government's arqument
that Blakely only applies to increases in the maximum sentence, 76
CrL at 270,

3. Therefore, the respondent's assertion that the Michigan
Supreme Court decision in People v. Claypool, 470 Mich 715, 730 n
14 (2004), is not contrary to, or an unreasonable application of
Blakely is untenable.

4, Also contrary to respondent's position is that in the each
of the following cases, the Supreme Court applied Blakely's
constitutional requirements on collateral review: United States v.
Turnbull, 349 F,3d 558 (8th Cir, 2003), cert granted, judgment

vacated, and case remanded, (sc No. 03-10760, Jan 24,

U.S.

2005}; 2005 WL 123974; United States v. Martinez-Figueroa, 363 F.3d

 

679 (8th Cir, 2004), cert granted, judgment vacated, and case remanded
a5. «(SC No, 04-5113, Jan 24, 2005); 2005 WL 124171; United
States v. Welch, 368 F.3d 970 (7th Cir, 2004), cert granted, judgment
vacated, and case remanded, U.S... ss (SC CONo. «=—04+7045, Jan 24,
2005}; 2005 WL 126568; United States v. Banner, 356 F,3d 478 (2nd
Cir, 2004), cert granted, judgment vacated, and case remanded,
__ U.S. (SC No, 04-5130, Jan 24, 2005); 2005 WL 124173; United
States v. Meza, 82 Fed Appx. 122 (Sth Cir. 2003), cert granted,
judgment vacated, and case remanded, U.S. sss (SC. ONo. «=(03-9262,
Jan 24, 2005); 2005 WL 22880713; United States v. Holmes, 360 F.3d
1339 (B.C, Cir, 2004), cert granted, judgment vacated, and case
remanded, ___U.S.___ (SC No, 03-10705, Jan 24, 2005); 2005 WL 125527;

United States v. Haire, 371 F.3d 833 (D.C, Cir. 2004), cert granted,
 

Se 2:04-cv-73235-LPZ-SDP ECF No. 13, PagelD.114 Filed 03/28/05 Page 3of5

judgment vacated, and case remanded, _ U.S. (SC No. 04-6119,
Jan 24, 2005); 2005 WL 126462.

5S. In the above cases, the Supreme Court applied the
constitutional requirements of Blakely to the Federal Sentencing
Guidelines in a retroactive manner, This point is demonstrated by
the following:

6. In each case, the defendant was not pending on direct-appeal.
When their cases were pending on direct-review, neither defendant
raised any issue relating to the sentence or Federal Sentencing
Guideline. Further, in each of the cases, the defendant mounted
a Blakely attack under Booker while pending “discretionary review"
in the Supreme Court. Under these circumstances, the Supreme Court
still granted certiorari, vacated judgment, and remanded these cases
in light of Booker.

7, Therefore, respondent's assertion that Blakely is probably
not applicable te cases on collateral review is contrary to the
actions taken by the Supreme Court in each of the above referenced
cases.

WHEREFORE, petitioner respectfully requests this Court to DENY
respondent's motion for summary judgment and will order a response
to the merits of the petition for writ of habeas corpus. in the
alternative, petitioner requests this Court to deny respondent's

motion and grant the writ of habeas cerpus.
Dated:

@ 2:04-cv-73235-LPZ-SDP ECF No. 13, PagelD.115 Filed 03/28/05 Page 4of5

March 24, 2005

 

AD Meg. Submitted,

Naw

ie A. McBrayer
Inmate No: 235965
Macomb Correctional Facility
34625 26 Mile Road
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In Pro Per
 

@ 2:04-cv-73235-LPZ-SDP ECF No. 13, PagelD.116 Filed 03/28/05 Page 5 of 5

 

CERTIFICATE OF SERVICE
I, RICHARD A. MCBRAYER, hereby certifies that on this 25th day
of March 2005, he mailed a copy of Petitioner's Supplemental Authority
and Argument upon Respondent's attorney: BRENDA E. TURNER (P24705),
ASSISTANT ATTORNEY GENERAL OF MICHIGAN, CRIMINAL APPELLATE PIVISION,

P.O. BOX 30217, LANSING, MT 48909,

Ny ly Submited,

1) (ap ——

bl A. McBrayer
In Pro Per Petitioner

Dated: March 25, 2005,
